Information to identify the case:
Debtor
                Bob Belloni Ranch, Inc.                                                        EIN:   93−0594506
                Name

United States Bankruptcy Court       District of Oregon                                         Date case filed for chapter:          7      9/15/23

Case number:        23−61677−tmr7
Official Form 309C (For Corporations or Partnerships)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                                                             12/20

For the debtor listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot
sue, assert a deficiency, repossess property, or otherwise try to collect from the debtor. Creditors cannot demand repayment
from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and punitive damages
and attorney's fees.
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.
1. Debtor's full name                        Bob Belloni Ranch, Inc.

2. All other names used in the dba BBR Counseling Services, dba BBRCS
   last 8 years
3. Address                                   490 Commercial Avenue
                                             Coos Bay, OR 97420

4. Debtor's attorney                         TED A TROUTMAN                                                       Contact phone (503) 292−6788
                                             5075 SW Griffith Dr.
    Name and address                         STE 220
                                             Beaverton, OR 97005

5. Bankruptcy trustee                        Vanesa Pancic                                                        Contact phone 503−729−8676
                                             Chapter 7 Trustee
    Name and address                         POB 280
                                             Wilsonville, OR 97070

6. Bankruptcy clerk's office                 405 E 8th Ave #2600                                                  Office Hours 9:00 a.m. − 4:30 p.m.
                                             Eugene, OR 97401
    Documents in this case may be
    filed at this address. You may                                                                                Contact phone 541−431−4000
    inspect all records filed in this case
    at this office or online at                                                                                   Date: 9/15/23
    https://pacer.uscourts.gov.

7. Meeting of creditors                      October 16, 2023 at 11:30 AM                                         Location:
    The debtor's representative, as
    specified in Bankruptcy Rule             The meeting may be continued or adjourned to a later date. If        Telephone 341 meeting. Dial
    9001(5), must                            so, the date will be on the court docket. Photo ID is required.      877−783−9040, and enter passcode
    attend the meeting to be                 Debtors must also provide proof of reported social security          6734492.
    questioned under oath. Creditors         numbers (for example, social security card; medical insurance
    may attend, but are not required to      card; pay stub; W−2 form; IRS form 1099; or Social Security
    do so.                                   Admin.report).

8. Proof of claim                            No property appears to be available to pay creditors. Therefore, please do not file a proof of claim now.
    Please do not file a proof of            If it later appears that assets are available to pay creditors, the clerk will send you another notice telling you
    claim unless you receive a notice        that you may file a proof of claim and stating the deadline.
    to do so.

9. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
   address                                   extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                             any questions about your rights in this case.
                                                                                                              For more information, see page 2 >
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Debtor Bob Belloni Ranch, Inc.                                                                                Case number 23−61677−tmr7


10.    Notice of Proposed Dismissal            This case may be dismissed without further prior notice if the debtor fails to
       of Case                                 complete the meeting of creditors set above, timely file any documents, or make
                                               fee payments as ordered by the Court, unless within 21 days of the date in line 6 a
                                               party in interest files a written objection to dismissal, setting forth specific grounds,
                                               and sends copies to the debtor's attorney and trustee.
                                               Important: Unless you receive an Order of Dismissal from this Court, this case is
                                               active and the automatic stay is in effect.

11.    Trustee Appointment                     The trustee named above is hereby appointed as interim trustee in this case. The
                                               trustee's bond shall be the blanket bond previously approved and filed with the U.S.
                                               Bankruptcy Court Clerk. UNITED STATES TRUSTEE

12.    Court Information and Legal             Court information is available at https://www.orb.uscourts.gov. For account numbers,
       Advice                                  etc. contact the debtor's attorney. Contact your own attorney with other questions and
                                               to protect your rights. The clerk's office staff is forbidden by law from giving legal
                                               advice.
Official Form C (For Corporations or Partnerships) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                 page 2




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